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                                   EXHIBIT

                                         “A”




                                                            EXHIBIT “A”

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Filing#Case 1:18-cv-24146-KMM
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                                                      IN THE CIRCUIT COURT OF THE 11TH
                                                      JUDICIAL CIRCUIT IN & FOR MIAMI-DADE
                                                      COUNTY, FLORIDA

                                                      GENERAL JURISDICTION DIVISION

         ELEONORA RICCI,                              CASE NO.

                         Plaintiff,

         vs.

         EXCHANGE MIAMI, LLC,
         SHAKI DOBBS and ANTHONY
         DOBBS,

                         Defendants.                  COMPLAINT
         ---------~/

                  1.     Plaintiff brings this action under the Fair Labor Standards Act, 29 U.S.C. §201 et

         seq. (the "FLSA"), on behalf of herself and other similarly situated current and former tipped

         employees ("Servers") who work and/or worked for Defendant EXCHANGE MIAMI, LLC and

         Defendants SHAKI DOBBS and ANTHONY DOBBS (hereinafter collectively referred to as the

         "Employer") for minimum wage violations of the FLSA and for owed wages/tips.

                        A. INTRODUCTION TO "TIP CREDIT" VIOLATIONS

                 2.      Plaintiff and the Servers work and/or worked for the Employer in Miami-Dade

         County, Florida in its nightclub called The Exchange.      Plaintiff and the Servers are covered

         employees for purposes of the FLSA. Defendants SHAKI DOBBS and ANTHONY DOBBS are

         the owners and officers of Defendant EXCHANGE MIAMI, LLC and control the terms and

         conditions of Plaintiff's and the Servers' work, including but not limited to the minimum wage

         violations alleged herein.

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          3.      For Count I, Plaintiff and the Servers have the following characteristics with respect
   to the minimum wage allegations:
          a.      The Employer paid Servers a reduced gross hourly wage pursuant to §3(m)
                  oftheFLSA;

          b.      Servers are required to share a percentage of their tips with non-tipped
                  employees and/or employees who are not then working as tipped employees;

          c.      The Employer required that Servers perform non-tipped work for free;

          d.      The Employer required that Plaintiff and Servers purchase and maintain
                  work uniforms at their own cost;

          e.      The Employer failed to pay Servers for all of their actual work time in
                  violation of the FLSA; and

          f.      The Employer failed to account for all of Servers' work hours to avoid
                  having to pay them their hourly pay.

                                       B. THE EMPLOYER
          4.      The Employer is subject to the FLSA and is within the jurisdiction of this Court.

          5.      The Employer is an "enterprise" as defined by the FLSA and is subject to the FLSA.

   Specifically, the Employer's gross annual income exceeds $500,000.00 per annum and it employs

   two or more employees engaged in interstate commerce. Moreover, the Employer's employees,

   including Plaintiff, handled, sold, or otherwise worked on goods or materials that have been moved

   in or produced in commerce (e.g., alcohol, beer, ketchup, napkins, salt, pepper, etc.). As such, the

   Employer is and was, during all times hereafter mentioned, an enterprise engaged in commerce or in

   the production of goods for commerce as defined in §§ 3(r) and 3(s) of the FLSA, 29 U.S.C. §

   203(r) and 203(s).

          6.      This action is brought by Plaintiff and the Servers to recover from the Employer

   compensation for the Employer's minimum wage violations, as well as an additional amount as

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   liquidated damages, costs, and reasonable attorney's fees under the provisions of 29 U.S.C. § 201 et

   seq., and specifically under the provisions of 29 U.S.C. §§ 206, 207 and 216(b ).

          7.      Concurrent jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by

   Title 29 U.S.C. § 216(b).

           8.     By reason of their employment with the Employer, Plaintiff and the Servers were

   employed during such period by an enterprise engaged in commerce within the meaning of 29

   U.S.C. § 206(a) and 207(a). The work performed by Plaintiff and the Servers was directly essential

   to those interstate activities described herein which was directly essential to the business performed

   by the Employer. Plaintiff and the Servers, by virtue of their job duties and functions as described

   above, were engaged in commerce. Specifically, for every shift that Plaintiff and the Servers worked

   for the Employer, they dealt with credit card transactions going over state lines from customers, they

   served tourists and business travelers who came from other states comprising at least 50% of the

   Employer's business, and they served alcohol, food and food related products that came from other

   states. As such, based on the above, Plaintiff and the Servers were engaged in interstate commerce.

                                  C. VENUE & JURISDICTION

          9.      This action is brought by Plaintiff and the Servers to recover from the Employer

   compensation for the Employer's minimum wage violations, as well as an additional amount as

   liquidated damages, costs, and reasonable attorney's fees under the provisions of 29 U.S.C. § 201 et

   seq., and specifically under the provisions of 29 U.S.C. §§ 206, 207 and 216(b ).

           10.    Concurrent jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by

   Title 29 U.S.C. § 216(b).



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           11.    By reason of their employment with the Employer, Plaintiff and Servers were

   employed during such period by an enterprise engaged in commerce within the meaning of 29

   U.S.C. § 206(a) and 207(a). The work performed by Plaintiffs and Servers was directly essential to

   those interstate activities described herein which was directly essential to the business performed by

   the Employer. Plaintiffs and Servers, by virtue of their job duties and functions as described above,

   were engaged in commerce.

           12.    All conditions precedent to bringing this action have occurred, have been satisfied,

   or have otherwise been waived.

                                     COUNT!
                      RECOVERY OF MINIMUM WAGE VIOLATIONS
                             AGAINST THE EMPLOYER

           13.    Plaintiff readopts and realleges all allegations contained in ,i,i 1-12 above.

           14.    At all times material hereto, the Employer failed to comply with §3(m) of the Act,

   Title 29 U.S.C. §§201-219 and 29 C.F.R. §516.2 and §516.4 et seq. in that Plaintiff and Servers

   actually received less than the applicable minimum wage per hour for the reasons alleged at iJ3

   above which resulted in a minimum wage violation.

           15.    As a result of the Employer's acts as described at ,i 14 above, Plaintiffs' and Servers'

   hourly wages were below the applicable minimum wage in violation of the FLSA and/or the

   Employer violated the FLSA's minimum wage provisions.

           16.    Plaintiff and Servers are entitled to be paid at least the applicable reduced minimum

   wage while they are doing tipped work and no less than the minimum wage while they are doing

   non-tipped work.

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           17.     As a result of the Employer's acts as described above, Plaintiffs and Servers' hourly

   wages were below the applicable minimum wage and/or reduced minimum wage in violation of the

   FLSA and/or the Employer's actions resulted in minimum wage violations.

           18.     The Employer knew and/or showed reckless disregard of the provisions of the FLSA

   concerning the payment of hourly wages to Plaintiff and Servers in accordance with the FLSA.

           19.     By reason of the said intentional, willful and unlawful acts of the Employer, Plaintiff

   and Servers have suffered damages (as described above) plus incurring costs and reasonable

   attorneys' fees and are entitled to damages as provided by §216 of the FLSA. As a result of the

   Employer's willful disregard of the FLSA, Plaintiff and Servers are entitled to liquidated damages.

           WHEREFORE, Plaintiff and Servers who have or will opt-in to this action demand

   judgment against the Employer for payment of all of their hours worked at the applicable minimum

   wage, reimbursement for all of their work related costs and expenses, liquidated damages,

   reasonable attorney's fees and costs of suit, injunctive and declaratory relief, and for all other relief

   allowed by §2 l 6(b) of the FLSA.

                                          COUNT II
                                    CLAIM OF OWED WAGES

           20. Plaintiff readopts and realleges the allegations contained at i]l2 above.

           21.     At the time of hire, Defendant Exchange Miami, LLC promised to pay Plaintiff

   wages for each week that she worked for it.

           22.     Defendant Exchange Miami, LLC failed and refused to pay Plaintiff numerous

   paychecks and tips resulting in her being damaged.



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          WHEREFORE, Plaintiff demands that she be awarded damages against Defendant

   Exchange Miami, LLC, interest, prejudgment interest, costs and her reasonable attorneys fees

   pursuant to 448.08, Fla. Stat.

                                           JURYDEMAND

          Plaintiff demands trial by jury for Counts 1-11.

                                    Respectfully submitted,

                                                   /s/ Juliana Gonzalez
                                                   Fla. Bar No. 54660
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                                                   3126 Center Street
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                                                               IN THE CIRCUIT COURT OF THE 11th
                                                               JUDICIAL CIRCUIT IN & FOR MIAMI-
                                                               DADE COUNTY, FLORIDA

                                                               GENERAL JURISDICTION DIVISION

        ELEONORA RICCI, CARLEN JONES,                          CASE No.    2018-031028-CA-0l
        JOCELYNE MORALES,PRICILLA VERONA,
        SYLVER GUNN, ALEXANDER ONAGA,
        AUDREY PROPHETE, MARY PELINO,
        JASMIN SOLANO, NICOLE MONTEIRO,
        PIERRE PAGE, RYNISE ALLEN,
        VICTORIA TAN LAY, JENNY PLATH,
        and MARIANNA BRANDA,

                      Plaintiffs,

        vs.                                                        FIRST AMENDED COMPLAINT

        EXCHANGE MIAMI, LLC,
        SHAKI DOBBS and ANTHONY DOBBS,

                      Defendants.
        ______________                                     !

               1.     Plaintiffs bring this action under the Fair Labor Standards Act, 29 U.S.C. §201 et

        seq. (the "FLSA"), on behalf of themselves and other similarly situated current and former tipped

        employees ("Servers") who work and/or worked for Defendant EXCHANGE MIAMI, LLC and

        Defendants SHAKI DOBBS and ANTHONY DOBBS (hereinafter collectively referred to as the

        "Employer") for minimum wage violations of the FLSA and for owed wages/tips.

                      A. INTRODUCTION TO "TIP CREDIT" VIOLATIONS

               2.     Plaintiffs and the Servers work and/or worked for the Employer in Miami-Dade

        County, Florida in its nightclub called The Exchange.     Plaintiffs and the Servers are covered

        employees for purposes of the FLSA.      Defendants SHAKI DOBBS and ANTHONY DOBBS

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   (hereinafter the "Owners") are the owners and officers of Defendant EXCHANGE MIAMI, LLC

   and control the terms and conditions of Plaintiffs' and the Servers' work, including but not limited to

   the minimum wage violations alleged herein.

           3.     For Count I, Plaintiffs and the Servers have the following characteristics with respect

   to the minimum wage allegations:

           a.     The Employer paid Servers a reduced gross hourly wage pursuant to §3(m)
                  oftheFLSA;

          b.      Servers are required to share a percentage of their tips with non-tipped
                  employees and/or employees who are not then working as tipped employees;

           c.     The Employer required that Servers work for free;

           d.     The Employer required that Plaintiffs and Servers purchase and maintain
                  work uniforms at their own cost;

           e.     The Employer failed to pay Servers for all of their actual work time in
                  violation of the FLSA; and

           f.     The Employer failed to account for all of Servers' work hours and pay to
                  avoid having to pay them their hourly pay.

                                        B. THE EMPLOYER
           4.     The Employer is subject to the FLSA and is within the jurisdiction of this Court.

           5.     The Employer is an "enterprise" as defined by the FLSA and is subject to the FLSA.

    Specifically, the Employer's gross annual income exceeds $500,000.00 per annum and it employs

   two or more employees engaged in interstate commerce. Moreover, the Employer's employees,

   including Plaintiffs, handled, sold, or otherwise worked on goods or materials that have been moved

   in or produced in commerce (e.g., alcohol, beer, ketchup, napkins, salt, pepper, etc.). As such, the

   Employer is and was, during all times hereafter mentioned, an enterprise engaged in commerce or in


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   the production of goods for commerce as defined in §§ 3(r) and 3(s) of the FLSA, 29 U.S.C. §

   203(r) and 203(s).

             6.        The Owners are owners and officers of Defendant Exchange Miami, LLC

   (hereinafter "Exchange") and control the terms and conditions of Plaintiffs' and the Servers' work,

   including but not limited to the minimum wage violations alleged herein.              The Owners also

   controlled the terms and conditions of Plaintiffs' work and the wage and hour violations alleged

   herein.        The Owners exercised control over the nature and structure of Plaintiffs' employment

   relationship with the Exchange. Based on the allegations made herein, the Owners were and are an

   "employer" of Plaintiffs since they act directly and indirectly in the interest of the Exchange,

   including, but not limited to, the following:

             a.        The Owners are officers and/or owners of the Exchange;

             b.        The Owners were and are directly involved in the making and implementation of
                       employment policies and procedures, including pay and FLSA compliance,
                       improper charges to employees like Plaintiffs, uniform costs, reduction oflabor costs
                       and non-payment to employees, at the Exchange;

             c.        The Owners were and are directly involved in the hiring, supervision, discipline and
                       termination of all employees, managerial and non-managerial, working for the
                       Exchange;

             d.        The Owners were and are directly involved in the accounting and financials for the
                       Exchange and have custody and control over its business records and are ultimately
                       responsible for such financial records; and

             e.        The Owners intentionally refuse to pay Plaintiffs their tips and/or hourly pay. For
                       example, the Owners direct Plaintiffs to tum over all cash payments at the Exchange
                       to them to that they can keep the cash and not report it to the government to escape
                       tax consequences and to avoid having to pay Plaintiffs their share of the tips/
                       gratuities from such monies. Additionally, the Owners swindle Plaintiff by claiming
                       that credit card charges were refused and/or "charged back" by customers so that
                       they can keep the entire balance to themselves without paying anything to Plaintiffs.

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           7.      This action is brought by Plaintiffs and the Servers to recover from the Employer

   compensation for the Employer's minimum wage violations, as well as an additional amount as

   liquidated damages, costs, and reasonable attorney's fees under the provisions of 29 U.S.C. § 201 et

    seq., and specifically under the provisions of 29 U.S.C. §§ 206, 207 and 216(b ).

           8.      Concurrent jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by

   Title 29 U.S.C. § 216(b).

           9.      By reason of their employment with the Employer, Plaintiffs and the Servers were

   employed during such period by an enterprise engaged in commerce within the meaning of 29

   U.S.C. § 206(a) and 207(a). The work performed by Plaintiffs and the Servers was directly essential

   to those interstate activities described herein which was directly essential to the business performed

   by the Employer. Plaintiffs and the Servers, by virtue of their job duties and functions as described

   above, were engaged in commerce. Specifically, for every shift that Plaintiff and the Servers worked

   for the Employer, they dealt with credit card transactions going over state lines from customers, they

    served tourists and business travelers who came from other states comprising at least 50% of the

   Employer's business, and they served alcohol, food and food related products that came from other

    states. As such, based on the above, Plaintiffs and the Servers were engaged in interstate commerce.

                                   C. VENUE & JURISDICTION

            10.    This action is brought by Plaintiffs and the Servers to recover from the Employer

   compensation for the Employer's minimum wage violations, as well as an additional amount as

   liquidated damages, costs, and reasonable attorney's fees under the provisions of 29 U.S.C. § 201 et

    seq., and specifically under the provisions of 29 U.S.C. §§ 206, 207 and 216(b ).

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           11.    Concurrent jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by

   Title 29 U.S.C. § 216(b).

           12.    By reason of their employment with the Employer, Plaintiffs and Servers were

   employed during such period by an enterprise engaged in commerce within the meaning of 29

   U.S.C. § 206(a) and 207(a). The work performed by Plaintiffs and Servers was directly essential to

   those interstate activities described herein which was directly essential to the business performed by

   the Employer. Plaintiffs and Servers, by virtue of their job duties and functions as described above,

   were engaged in commerce.

           13.    All conditions precedent to bringing this action have occurred, have been satisfied,

   or have otherwise been waived.

                                    COUNT!
                     RECOVERY OF MINIMUM WAGE VIOLATIONS
                            AGAINST THE EMPLOYER

           14.    Plaintiffs readopt and reallege all allegations contained in ,i,i 1-13 above.

           15.    At all times material hereto, the Employer failed to comply with §3(m) of the Act,

   Title 29 U.S.C. §§201-219 and 29 C.F.R. §516.2 and §516.4 et seq. in that Plaintiffs and Servers

   actually received less than the applicable minimum wage per hour for the reasons alleged at iJ3

   above which resulted in a minimum wage violation.

           16.    As a result of the Employer's acts as described at ,i 15 above, Plaintiffs' and Servers'

   hourly wages were below the applicable minimum wage in violation of the FLSA and/or the

   Employer violated the FLSA's minimum wage provisions.




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           17.     Plaintiffs and Servers are entitled to be paid at least the applicable reduced minimum

   wage while they are doing tipped work and no less than the minimum wage while they are doing

   non-tipped work.

           18.     As a result of the Employer's acts as described above, Plaintiffs' and Servers' hourly

   wages were below the applicable minimum wage and/or reduced minimum wage in violation of the

   FLSA and/or the Employer's actions resulted in minimum wage violations.

           19.     The Employer knew and/or showed reckless disregard of the provisions of the FLSA

   concerning the payment of hourly wages to Plaintiffs and Servers in accordance with the FLSA.

           20.     By reason of the said intentional, willful and unlawful acts of the Employer,

   Plaintiffs and Servers have suffered damages (as described above) plus incurring costs and

   reasonable attorneys' fees and are entitled to damages as provided by §216 of the FLSA. As a result

   of the Employer's willful disregard of the FLSA, Plaintiffs and Servers are entitled to liquidated

   damages.

           WHEREFORE, Plaintiffs and Servers who have or will opt-in to this action demand

   judgment against the Employer for payment of all of their hours worked at the applicable minimum

   wage, reimbursement for all of their work related costs and expenses, liquidated damages,

   reasonable attorney's fees and costs of suit, injunctive and declaratory relief, and for all other relief

   allowed by §2 l 6(b) of the FLSA.

                                          COUNT II
                                    CLAIM OF OWED WAGES

           21.     Plaintiffs readopt and reallege the allegations contained at iJ13 above.




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           22.     At the time of hire, the Exchange promised to pay Plaintiffs wages for each week

   that they worked for it.

           23.     The Exchange failed and refused to pay Plaintiffs numerous paychecks and tips

   resulting in them being damaged despite Plaintiffs fully performing their side of the bargain.

           WHEREFORE, Plaintiffs demand that they be awarded damages against the Exchange,

   interest, prejudgment interest, costs and her reasonable attorneys fees pursuant to 448.08, Fla. Stat.

                                          JURYDEMAND

           Plaintiffs demand trial by jury for Counts 1-11.

                                       CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that the foregoing document was served via U.S. Mail on 9/25/18, on
   Shaki Dobbs (personally and as Registered Agent for Exchange Miami, LLC), 1717 N. Bayshore
   Drive, Apt. 2653, Miami, FL 33132.

                                  Respectfully submitted,

                                                   /s/ Juliana Gonzalez
                                                   Fla. Bar No. 54660
                                                   MG Legal Group, P.A.
                                                   3126 Center Street
                                                   Coconut Grove, Florida 33133
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